              Case 2:18-cr-00164-KJM Document 93 Filed 09/13/18 Page 1 of 2

 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                              CASE NO. 2:18-CR-164-MCE
11
                                 Plaintiff,
12
                           v.                               ORDER TO SEAL DOCUMENTS
13                                                          APPROVED FOR FILING UNDER SEAL
     FRANCISCO LOYA-SOLARZANO (aka “Uncle,” aka
14   “Pancho”)
     ELIAS HERNANDEZ VALENCIA (aka “Pistola”)
15
     FILIBERTO MADRIGAL (aka “Fily”)
16   LUIS ARMANDO RIOS GARCIA (aka “Pee Wee”)
     GEORGINA CARRILLO AYALA
17   HECTOR GOMEZ-GARCIA
     JOSE FRANCISCO BUENAVIDA (aka “Canas”)
18   ENRIQUE BUENAVIDA
     JOSE ANTONIO PANTOJA ESTRADA
19
     KELLY DUANE HUGHES
20   JERRY CURTIS FOSTER
     BART RICHARD HUGHES
21   JOSE MANUEL RODRIGUEZ (aka “Manny”)
     ROBERTO MERCADO-RANGEL,
22
                                Defendants.
23

24

25         Pursuant to Local Rule 141(b), IT IS HEREBY ORDERED that documents submitted by the

26 United States, and attached to this Order, are approved by the Court for filing under seal and shall be

27 SEALED until further order of this Court.

28         IT IS FURTHER ORDERED that this Order, but not the attached sealed documents, shall appear
              Case 2:18-cr-00164-KJM Document 93 Filed 09/13/18 Page 2 of 2

 1 on the publicly available case docket.

 2          IT IS FURTHER ORDERED that access to the sealed documents shall be limited to the United

 3 States until such time as the United States has applied for, and the Court has issued, a protective order

 4 permitting disclosure to defendants in United States v. Loya-Solarzano, et al., Case No. 2:18-CR-164-

 5 MCE.

 6          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court

 7 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

 8 the United States’ request, sealing the aforementioned documents serves a compelling interest.

 9          The Court further finds that, in the absence of closure, the compelling interests identified by the

10 United States would be harmed. The Court further finds that there are no additional alternatives to sealing

11 the documents the United States has submitted that would adequately protect the compelling interests

12 identified by the United States.

13          IT IS SO ORDERED.

14 September 12, 2018

15

16
                                                 _______________________________________
17                                               MORRISON C. ENGLAND, JR.
                                                 UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26

27

28

                                                    Page 2 of 2
